               EXHIBIT A

PROPOSED SETTLEMENT AGREEMENT (UNSIGNED)
                 SETTLEMENT AGREEMENT AND MUTUAL RELEASE

       This Settlement Agreement (this “Agreement”) is hereby entered into this          day of

     (the “Execution Date”), by and between (1) Melanie L. Cyganowski, solely in her capacity

as the court-appointed receiver (the “Receiver”) for (i) Platinum Partners Credit Opportunities

Master Fund LP (“PPMF,” and, together with its feeder funds, “PPCO”), (ii) Platinum Partners

Credit Opportunities Fund (TE) LLC, (iii) Platinum Partners Credit Opportunities Fund LLC, (iv)

Platinum Partners Credit Opportunities Fund International Ltd., (v) Platinum Partners Credit

Opportunities Fund International (A) Ltd., (vi) Platinum Partners Credit Opportunities Fund (BL)

LLC, (vii) Platinum Credit Management, L.P., (viii) Platinum Liquid Opportunity Management

(NY) LLC, (ix) Platinum Partners Liquid Opportunity Fund (USA) L.P. and (x) Platinum Partners

Liquid Opportunity Master Fund L.P. (collectively, the “Receivership Entities”), and, in that

capacity, as an agent and an authorized representative for all entities listed as “Receivership

Parties” on Addendum A hereto (collectively, the “Receivership Parties”), on one hand, and (2)

Martin Trott and Christopher Smith, in their capacities as the Joint Official Liquidators and Foreign

Representatives (the “JOLs”) of Platinum Partners Value Arbitrage Fund L.P. (in Official

Liquidation) (“PPVA”), and, in that capacity, as an agent and authorized representatives for

all entities listed as “PPVA JOL Parties” on Addendum A hereto (collectively with the JOLs

and PPVA, the “PPVA JOL Parties”), and (3) Principal Growth Strategies, LLC (“PGS,” and

together with PPVA JOL Parties, the Receiver and the Receivership Parties, collectively, the

“Parties” and each a “Party”), on the other hand.
       WHEREAS, this Agreement incorporates the capitalized terms defined in Addendum B

hereto and, thus, capitalized terms not otherwise defined in these Recitals or in the body of this

Agreement shall have the meanings ascribed to them in Addendum B;

       WHEREAS, prior to the commencement of the Proceedings (defined below), management

of PPCO and PPVA was under the common control of Mark Nordlicht (“Nordlicht”) and certain

other individuals (collectively, the “Platinum Insiders”);

       WHEREAS, under the Platinum Insiders’ management, PPCO and PPVA engaged in

ongoing transactions between, among and with each other that involved the transfer of assets, cash

and/or debt by and among the entities owned and/or controlled by the Parties (the “Inter-Fund

Transactions”);

       WHEREAS, the Receiver, the JOLs and their respective professionals have examined the

Inter-Fund Transactions in an effort to reconcile any outstanding claims or obligations for which

one Party may be liable to another;

       WHEREAS, on December 19, 2016, the Receivership Entities were placed into

receivership (the “Receivership” and all assets of the Receivership, the “Receivership Estate”) by

orders of the United States District Court for the Eastern District of New York (the “Receivership

Court”) in the action captioned, Securities & Exch. Comm’n v. Platinum Mgmt. (NY) LLC, et al.,

16 Civ. 06848 (BMC) (the “Receivership Action”) and Bart M. Schwartz was appointed the initial

receiver (the “Prior Receiver”);

       WHEREAS, following the Prior Receiver’s resignation, on July 6, 2017, the Receivership

Court appointed the current Receiver, with all of the rights, duties, obligations and powers of the

Receiver, as more specifically set forth in the October 16, 2017 Second Amended Order

Appointing Receiver, Receivership Dkt. No. 276, as thereafter amended;



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       WHEREAS, by orders dated August 25, 2016, October 27, 2016, December 16, 2016,

September 29, 2017 and July 6, 2018 (the “Cayman Liquidation Orders”) of the Financial

Services Division of the Grand Court of the Cayman Islands (the “JOL Court,” together with the

Receivership Court, collectively, the “Courts,” and each, individually, a “Court”), in a proceeding

in the JOL Court (the “PPVA Liquidation Proceeding,” together with the Receivership Action,

collectively, the “Proceedings”), the JOLs are the Court-appointed Joint Official Liquidators of

Platinum Partners Value Arbitrage Fund L.P. (in Official Liquidation), with authority pursuant to

the Cayman Liquidation Orders directing the official winding up of PPVA and appointed to take

the actions articulated within such orders;

       WHEREAS, by orders dated November 23, 2016, and February 28, 2017, the United

States Bankruptcy Court for the Southern District of New York recognized the PPVA Liquidation

Proceeding as a “foreign main proceeding,” and appointed the JOLs as Foreign Representatives of

PPVA, under Chapter 15 of the Bankruptcy Code and authorized the JOLs to take the actions

articulated within such orders;

       WHEREAS, the JOLs, the Receiver and their respective predecessors and professionals

have worked cooperatively to maximize recoveries to both estates, to reduce expenses to both

estates, and, whenever possible, to assist each other when their interests were aligned, all under

the premise that innocent investors in, and creditors of, respectively, the Receivership Entities and

PPVA are all victims of a wide-ranging pattern of wrongful conduct by the Platinum Insiders that,

in general, should not benefit one set of investors at the expense of one another;

       WHEREAS, in the spirit of such cooperation, on or about August 8, 2017, the Receiver

and the JOLs’ predecessor entered into an e-mail agreement with respect to the Receivership

Entities’ prior receipt of approximately $7.3 million in connection with the sale or disposition of



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an asset owned by both PPMF and PPVA referred to as Navidea Pharmaceutical (the “Navidea

Proceeds”), as to which the Receiver agreed that PPVA was claiming an entitlement (without

accepting such claim) and which the Receiver agreed, for bookkeeping purposes only, would be

treated as disputed funds (the “Soft Escrow Agreement”);

         WHEREAS, the Receivership Entities and the PPVA JOL Parties each have continuing

shared interests in certain mutual assets;

         WHEREAS, one of the assets in which the Receivership Entities and the PPVA JOL

Parties had a joint indirect interest is Agera Energy LLC and Agera Holdings, LLC (collectively,

“Agera”), a group of companies in the retail energy services business. In June 2016, prior to the

filing of the Receivership Action, PGS, ostensibly owned 55% by PPVA and 45% by PPCO, sold

its interests in Agera to certain entities affiliated and/or associated with Beechwood Re

Investments LLC;

         WHEREAS, by letter agreement (the “Agera Agreement”), the Receiver and JOLs agreed

jointly to pursue certain claims and causes of action belonging to PPMF, PPVA and/or PGS

relating to PGS’ transfer of a certain promissory note convertible into 95% of the common equity

of Agera affiliate, Agera Energy LLC (the “Agera Claims”). Pursuant to the Agera Agreement, a

complaint was filed in the Court of Chancery of the State of Delaware on June 7, 2019 against

numerous defendants, including, among other defendants, AGH Parent LLC, Senior Health

Insurance Company of Pennsylvania (“SHIP”), CNO Financial Group, Inc., Bankers Conseco Life

Insurance Company and Washington National Insurance Company (the “Agera Action”)1;




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         On October 4, 2019, Agera Energy LLC and certain of its affiliates, none of which are parties to the Agera
Action, filed for chapter 11 bankruptcy relief in the United States Bankruptcy Court for the Southern District of New
York, Case No. 19-23803.

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       WHEREAS, prior to the filing of the Agera Action, LL Finance, L.L.C. (“LL Finance”),

PGS, PPVA, the JOLs and PPMF entered into an “Addendum to Funding Agreement” (the

“Funding Addendum”) as an addendum to the Funding Agreement between LL Finance, on the

one hand, the JOLs and PPVA, on the other, as it relates to the funding of the Agera Action and

the division of the net proceeds, if any, received on account of the Agera Claims;

       WHEREAS, pursuant to the NPA, BAM Admin is required to maintain a register

reflecting the holders of record of the PPMF Notes (the “Register”);

       WHEREAS, the most recent copy of the Register provided to the Parties is titled “PPMF

Debt Registry as of 09.30.2019,” pdf and EXCEL copies of which are annexed hereto as Exhibit

A (the “PPMF Debt Registry,” which term refers to the first page thereof which is tabbed

“Registry” and “rows” of which refers to the numbered rows on the electronic version of the

“Registry”);

       WHEREAS, PGS is shown on the PPMF Debt Registry as the Lender of Record for

portions of PPMF Note 1 and PPMF Note 4 referred to on row 20 of the PPMF Debt Registry in

the combined amount of $30,650,512.27 in principal and $5,951,657.98 in accrued interest as of

September 30, 2019 (together with all interest and other amounts accrued and accruing thereon,

collectively, the “PGS Lender of Record Interests”);

       WHEREAS, each of the JOLs and Receiver have filed the “Proofs of Claim,” as defined

in Addendum C hereto, in the estates, respectively, of the Receivership Entities and PPVA, and

BAM Admin, as agent, filed the proof of claim in the Receivership Action defined as the “BAM

Admin Proof of Claim” on Addendum C;

       WHEREAS, PPCO vigorously contests that PGS may enforce any of the PGS Lender of

Record interests, including not limited to on the grounds previously set forth in In re Platinum-



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Beechwood Litigation, as well as due to legal limitations upon and defenses to PGS as holder of

the beneficial interests in subject loan agreements;

       WHEREAS, the Parties, having engaged in extensive diligence and legal analysis, ascribe

$10 (ten dollars) of value to PGS’ beneficial interest in PPMF Note 1 and PPMF Note 4; and

       WHEREAS, and in the continued spirit of cooperation among them, the Parties desire to

settle all the claims, asserted and unasserted, by and among the Receivership Parties, on one hand,

and the PPVA JOL Parties and PGS, on the other hand, and all other matters of mutual interest

among the Parties in accordance with the terms set forth herein.

       NOW, THEREFORE, after good faith, arm’s-length negotiations between and among the

Parties and in consideration of the agreements, covenants and releases set forth herein, and for

other good and valuable consideration, the sufficiency and adequacy of which is acknowledged by

the Parties, the Parties hereto agree as follows:

       1.       Recitals. The recitals set forth above form an integral part of this Agreement and

are incorporated fully herein.

       2.       Withdrawal and Termination of Claims. Upon the Effective Date (defined

below):

               a.      Each of the JOLs, on behalf of the PPVA JOL Parties, and on behalf of PGS

hereby waive, withdraw, release, terminate and/or dismiss all formal or informal proofs of claim

(including, without limitation, the Proofs of Claim and the BAM Admin Proof of Claim to the

extent it asserts secured or unsecured claims arising out of or related to the PGS Lender of Record

Interests) or similar instruments filed by or on behalf of any of the PPVA JOL Parties or PGS in

the Receivership Action, whether such claims were filed by or on behalf of any of the PPVA JOL




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Parties or PGS as principal, as agent or representative on behalf of another entity or person, or by

another entity or person on behalf of any of the PPVA JOL Parties or PGS.

               b.      The Receiver, on behalf of the Receivership Parties, hereby waives,

withdraws, releases, terminates and/or dismisses all formal or informal proofs of claim (including,

without limitation, the Proofs of Claim) or similar instruments filed by or on behalf of any of the

Receivership Parties in the PPVA Liquidation Proceeding, whether such claims were filed by or

on behalf of any of the Receivership Parties as principal, as agent or representative on behalf of

another entity or person, or by another entity or person on behalf of any of the Receivership Parties.

               c.      Each of the JOLs, on behalf of the PPVA JOL Parties to the fullest and

greatest extent of the JOLs’ power to do so, and PGS hereby waive, withdraw, release, terminate

and/or dismiss any claims any of the PPVA JOL Parties or PGS, respectively, may have against

any of the Receivership Parties arising from or relating to any of the Inter-Fund Transactions,

whether any such claims are held by the PPVA JOL Parties or PGS directly or on behalf of another

entity or person, or whether any such claims are held by another entity or person on behalf of any

of the PPVA JOL Parties or PGS, and such waiver shall include, but not be limited to, any claims

to the Navidea Proceeds and shall further recognize the termination of the Soft Escrow Agreement.

               d.      The Receiver, on behalf of the Receivership Parties to the fullest and

greatest extent of her power to do so, hereby waives, withdraws, releases, terminates and/or

dismisses any claims any of the Receivership Parties may have against any of the PPVA JOL

Parties arising from or relating to any of the Inter-Fund Transactions, whether any such claims are

held by any of the Receivership Entities or on behalf of another entity, or whether any such claims

are held by another entity or person on behalf of any of the Receivership Entities. Notwithstanding

any other provision of this Agreement (including, without limitation, this Paragraph 2d and



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Paragraph 5a of this Agreement), and for the avoidance of doubt, the Receiver does not waive,

withdraw, terminate, dismiss, release, relinquish or covenant not to sue with respect to, and shall

continue to own and be entitled to receive distributions from PGS in accordance with the Operating

Agreement of PGS dated December 4, 2014 (as amended, the “PGS Operating Agreement”)

except as specifically modified herein, and the PGS Operating Agreement shall continue to govern

the conduct of PGS except as explicitly and expressly set forth herein. For the further avoidance

of doubt, the aforementioned modifications do not include the Receivership Entities’ rights with

respect to PPMF’s 45% share of PGS’ interest in Yellow River (Cayman) Limited, referred to as

“Yellow River” The PPVA JOL Parties make no warranty or representation concerning the net

value of PGS’ Yellow River interest or that distributions will be made to PGS’ members arising

from any Yellow River realizations. The Parties maintain an interest in receiving a distribution of

PGS’ Yellow River interests or the net proceeds of the disposition of such Yellow River interests

held by PGS, i.e., such proceeds net of (a) all reasonable costs incurred by PGS related to the

disposition of Yellow River interests which costs shall have been agreed to in writing by the

members thereof, with consent to such costs not to be unreasonably withheld and in no event to

include the costs incurred in connection with such disposition by either the PPVA JOL Parties or

the Receivership Parties, respectively, and (b) any of PGS’ demonstrated tax liabilities relating

directly to the disposition of the Yellow River interests, (the “Yellow River Proceeds”). The PPVA

JOL Parties, in their capacity as Manager under the PGS Operating Agreement, shall cause PGS

to make such distributions or payment (including, but not limited to the Yellow River Proceeds),

to the PGS members, including to the Receivership Parties, as may be required by the operative

PGS Operating Agreement in regular consultation with the Receivership Parties, as soon as it is

practicable to do so and the PPVA JOL Parties have obtained reasonably sufficient comfort under



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the parameters of Delaware law that any such distribution shall not result in material any liability

from public or private parties to the PPVA JOL Parties for making or causing such distribution,

and shall use commercially reasonable efforts to arrive at such determination. In no event,

however, shall the PPVA JOL Parties, in their capacity as Manager under the PGS Operating

Agreement, refuse to make a distribution simply because doing so will impose a tax or other

liability upon the PPVA JOL Parties which any of them would otherwise incur in the due course

of an authorized distribution, but for the avoidance of doubt any and all distributions shall be net

of any withholding taxes or other liabilities of PGS. Following the conclusion of the Agera Action

and the disposition or distribution of the Yellow River asset, PPVA will take steps to manage PGS

in accordance with Delaware law including, as appropriate, its winding down in as efficient and

expeditious manner as is commercially practicable.

        3.      Direction by PGS to BAM Admin.             Notwithstanding any of the terms of

Paragraph 2 of this Agreement, within two (2) Business Days after the Effective Date, PGS, as

title owner of the PGS Lender of Record Interests and one of the beneficiaries of the BAM Admin

Proof of Claim, shall deliver to BAM Admin written instruction, in a form to be provided by the

Receiver, to (a) terminate and release any lien held by BAM Admin, as agent for PGS, on assets

of the Receivership Entities under the MSA and/or the A&R MSA, and (b) withdraw with

prejudice the BAM Admin Proof of Claim to the extent the BAM Admin Proof of Claim purports

to assert claims, as agent, for which PGS is the principal, including, but not limited to, all claims

with respect to the PGS Lender of Record Interests.

        4.      Agera Action. Upon the Effective Date:

               a.      The Agera Agreement shall be, and hereby is, terminated and of no further

force and effect, with neither party thereto having any obligation thereunder to the other.



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               b.      PPMF hereby assigns to PPVA, which hereby accepts, all of PPMF’s rights

and obligations under the Funding Addendum, including any and all recoveries in connection with

the Agera Action and all damages arising from any transactions involving Agera.

               c.      PGS, PPVA and the JOLs hereby covenant and agree that if, any amount of

Recoveries from the Agera Claims (within the meaning of the Funding Addendum) remain to be

distributed (the “Net Agera Recoveries”) after (i) all payments required to be made in paragraphs

3(a) – (d) of the Funding Addendum have been made (the “Waterfall Payments”), and (ii) PPVA

has been paid the next $5 million of Recoveries from the Agera Claims after the Waterfall

Payments have been made, then five percent (5%) of any Net Agera Recoveries shall be paid to

PPMF, with the other 95% of Net Recoveries being paid to PPVA on a pari passu basis (“Agera

Remainder”).

               d.      PGS, PPVA and the JOLs hereby covenant and agree that they will not

amend or modify the Funding Addendum in any manner that would affect PPMF’s interest in the

Agera Remainder.

        5.      Releases.

               a.      Upon the Effective Date, the Receiver, on behalf of each of the Receivership

Parties to the fullest and greatest extent of her power to do so, hereby releases and discharges the

PPVA JOL Parties and PGS, and each of their respective successors and assigns and their

respective employees, attorneys, agents and representatives hired after the commencement of the

PPVA Liquidation Proceeding (collectively, the “PPVA JOL Releasees”), from and for, and

covenants not to sue any of the PPVA JOL Releasees on, any and all past, present and future causes

of action, suits, debts, sums of money, accounts, covenants, contracts, controversies, losses,

liabilities, responsibilities, damages, penalties, judgments, extents, executions, claims, cross-



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claims, counterclaims, proofs of claim, rights of contribution or indemnification, rights of

subrogation, and all other liabilities, claims or demands whatsoever, at law or equity, whether

based in contract, tort or otherwise, whether secured or unsecured, known or unknown, suspected

or unsuspected, discovered or undiscovered, whether asserted or unasserted, that any of the

Receivership Parties now has, ever had, or hereafter can, will or may have against any of the PPVA

JOL Releasees for, upon, or by reason of any matter, cause or thing, including, without limitation,

any matter, cause or thing arising out of or relating to any of the Inter-Fund Transactions, the

Navidea Proceeds, the Soft Escrow Agreement, the Agera Agreement, the Funding Addendum,

the PGS Operating Agreement, the PPMF Notes, the NPA, the MSA, the Ratification Agreement,

the A&R MSA, the Subsidiary Guaranty, the March 2016 Subsidiary Guaranty, the UCC-1s, the

Proofs of Claim, the SHIP/Fuzion Proofs of Claim, any other proofs of claim filed or submitted

by any person or entity against any of the Receivership Entities or PPVA or any of their estates,

and the PGS Lender of Record Interests, from the beginning of the world through the Effective

Date. Except as expressly permitted by Paragraph 5d of this Agreement and except with respect

to the Yellow River Proceeds and Agera Remainder, after the Effective Date the Receiver shall

not commence or prosecute, cause any of the Receivership Parties to commence or prosecute, or

assist or encourage any person or entity (including, without limitation, the Receivership Parties)

in the commencement or prosecution of, any lawsuit, arbitration, other proceeding, claim or proof

of claim on behalf any of the Receivership Parties against any of the PPVA JOL Releasees

asserting any past, present and future causes of action, suits, debts, sums of money, accounts,

covenants, contracts, controversies, losses, liabilities, responsibilities, damages, penalties,

judgments, extents, executions, claims, cross-claims, counterclaims, proofs of claim, rights of

contribution or indemnification, rights of subrogation, and all other liabilities, claims or demands



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whatsoever referred to in the first sentence of this Paragraph 5a. The preceding sentence shall

apply regardless of whether the Receiver had or has the power to release the causes of action, suits,

debts, sums of money, accounts, covenants, contracts, controversies, losses, liabilities,

responsibilities, damages, penalties, judgments, extents, executions, claims, cross-claims,

counterclaims, proofs of claim, rights of contribution or indemnification, rights of subrogation,

and all other liabilities, claims or demands referred to in that sentence.

               b.      Immediately after the release in Paragraph 5a hereof takes effect, each of

the JOLs, on behalf of each of the PPVA JOL Parties to the fullest and greatest extent of the JOLs’

power to do so, and PGS hereby release and discharge the Receivership Parties, and each of their

respective successors and assigns and their respective employees, attorneys, agents and

representatives hired after the commencement of the Receivership Action (collectively, the

“Receivership Releasees”), from and for, and covenant not to sue any of the Receivership

Releasees on, any and all past, present and future causes of action, suits, debts, sums of money,

accounts, covenants, contracts, controversies, losses, liabilities, responsibilities, damages,

penalties, judgments, extents, executions, claims, cross-claims, counterclaims, proofs of claim,

rights of contribution or indemnification, rights of subrogation, and all other liabilities, claims or

demands whatsoever, at law or equity, whether based in contract, tort or otherwise, whether

secured or unsecured, known or unknown, suspected or unsuspected, discovered or undiscovered,

whether asserted or unasserted, that any of the PPVA JOL Parties or PGS now has, ever had, or

hereafter can, will or may have against any of the Receivership Releasees for, upon, or by reason

of any matter, cause or thing, including, without limitation, any matter, cause or thing arising out

of or relating to any of the Inter-Fund Transactions, the Navidea Proceeds, the Soft Escrow

Agreement, the Agera Agreement, the Funding Addendum, the PGS Operating Agreement, the



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PPMF Notes, the NPA, the MSA, the Ratification Agreement, the A&R MSA, the Subsidiary

Guaranty, the March 2016 Subsidiary Guaranty, the UCC-1s, the Proofs of Claim, the

SHIP/Fuzion Proofs of Claim, any other proofs of claim filed or submitted by any person or entity

against any of the Receivership Entities or PPVA or any of their estates, and the PGS Lender of

Record Interests, from the beginning of the world through the Effective Date. Except as expressly

permitted by Paragraph 5d of this Agreement, after the release in Paragraph 5a hereof takes effect

the JOLs and PGS shall not commence or prosecute, cause any of the PPVA JOL Parties or PGS

to commence or prosecute, or assist or encourage any person or entity (including, without

limitation, the PPVA JOL Parties) in the commencement or prosecution of, any lawsuit,

arbitration, other proceeding, claim or proof of claim on behalf any of the PPVA JOL Parties or

PGS against any of the Receivership Releasees asserting any past, present and future causes of

action, suits, debts, sums of money, accounts, covenants, contracts, controversies, losses,

liabilities, responsibilities, damages, penalties, judgments, extents, executions, claims, cross-

claims, counterclaims, proofs of claim, rights of contribution or indemnification, rights of

subrogation, and all other liabilities, claims or demands whatsoever referred to in the first sentence

of this Paragraph 5b. The preceding sentence shall apply regardless of whether the JOLs had or

have the power to release the causes of action, suits, debts, sums of money, accounts, covenants,

contracts, controversies, losses, liabilities, responsibilities, damages, penalties, judgments, extents,

executions, claims, cross-claims, counterclaims, proofs of claim, rights of contribution or

indemnification, rights of subrogation, and all other liabilities, claims or demands referred to in

that sentence.




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                c.      Upon the Effective Date, the mutual releases and other promises and

agreements set forth herein shall constitute an accord and satisfaction of all rights, title or interest

held by PGS in, to and under the PGS Lender of Record Interests.

                d.      Notwithstanding any provision of this Agreement to the contrary, nothing

in this Agreement shall waive or release any claim or right by any Party to enforce the terms of

this Agreement.

         6.       Cooperation and Further Support.

                a.      The Receiver and the JOLs shall continue to work cooperatively to

monetize, and distribute any net proceeds (after reimbursing each Party for any direct expenses

incurred by that Party in monetizing the asset) pro rata in accordance with the Receivership

Parties’ and PPVA JOL Parties’ respective ownership interests, any remaining assets in which any

of the Receivership Parties and any of the PPVA JOL Parties have (direct or indirect) interests,

including, but not limited to, the assets known as “Yellow River,” “Cokal” and “Urigen,” except

for the Agera Claims, which shall be monetized as set forth herein.

                b.      No Party shall oppose or object to any plans of distribution/wind down

proposed in the Proceedings, unless any such plan is inconsistent with the terms of this Agreement,

in which case such Party shall first informally communicate and seek to resolve its concerns before

publicly filing an objection or opposition in the applicable Proceeding; provided, however, that

nothing herein shall modify the rights of the Parties to enforce any judgments or orders of

attachment as against former members, officers, employees or owners of Platinum Management

(NY) LLC and serve process or execution upon the other Party as garnishee. If and only if the

Parties reasonably believe that a disputed issue or decision in the Proceedings could have a




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collateral estoppel effect upon the Parties, the Parties reserve their rights to intervene or be heard

in the Proceedings.

               c.      The Parties agree to work cooperatively to develop a mechanism to share

costs regarding any new or continued document (electronic and physical) retention and

maintenance necessitated by this Agreement.

        7.      No Admission of Liability. The Parties agree that the purpose of this Agreement

and the consideration hereunder is to compromise disputed claims and to avoid litigation, and that

no statement made herein, payment made, or release or other consideration given shall be, or shall

be construed as, an admission of liability, wrongdoing or otherwise by any of the Parties of any

kind or nature. Notwithstanding the foregoing, nothing herein is intended to limit the parties

hereto from utilizing this Agreement to implement and enforce its provisions.

        8.      Court Approval. To the extent that either the Receiver and/or the JOLs determine

in their respective judgment(s) that approval of this Agreement by a Court is required for the

Agreement to be enforceable as to that Party and the persons and entities on behalf of which the

Receiver and the JOLs have entered into this Agreement, that Party shall apply within ten (10)

days of the Execution Date of this Agreement, by filing such motion and/or other pleadings as

may be necessary, for approval of the respective Court in the form of a final and non-appealable

order (insofar as a final and non-appealable order is obtainable) of the Court in the applicable

Proceedings, and shall promptly confirm in writing to the other Parties once the application for

approval of this Agreement has been made.

       9.       Settlement Effective Date. Except for Paragraphs 1, 7, 8 and 11, which shall be

binding immediately upon the execution of this Agreement by all Parties, the “Effective Date” of




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this Agreement and all of its terms shall be the first date on which all of the following shall have

occurred (the “Effective Date”):

               a.        this Agreement has been fully executed and delivered by the Parties;

               b.        fourteen (14) days after the JOL Court files an order approving the JOLs’

entry into this Agreement;

               c.        if the Receiver seeks approval of this Agreement by the Receivership Court

within ten (10) days after the Execution Date, (i) the Receivership Court or any court having

appellate jurisdiction over the Receivership Court issues a final and non-appealable order

approving the Receiver’s entry into this Agreement or (ii) a final order issued by any such Court

approving the Receiver’s entry into this Agreement becomes final and non-appealable; provided,

however, that this subparagraph 9c shall not apply if the Receiver does not seek approval of this

Agreement by the Receivership Court within ten (10) days after the Execution Date.

        10.     Representations and Warranties.

               a.        The JOLs represent and warrant, as of the Effective Date, that they have

made due inquiry and the entities listed in Addendum A under the heading PPVA JOL Parties

include, to the best of the JOLs’ knowledge, all subsidiaries of PPVA on whose behalf the JOLs

have authority to act.

               b.        The Receiver represents and warrants, as of the Effective Date, that she has

made due inquiry and the entities listed in Addendum A under the heading Receivership Parties

include, to the best of the Receiver’s knowledge, all subsidiaries of PPMF on whose behalf the

Receiver has authority to act.

               c.        Each Party represents and warrants, as of the Effective Date, that: (i) she,

he or it has been represented by counsel in connection with the negotiation, drafting and execution



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of this Agreement, and is executing this Agreement with full knowledge and understanding of its

terms; (ii) the signatory for the Party has the full authority to have executed the Agreement; (iii)

each Party has obtained all necessary legal approvals to enter into, and bind herself, himself or

itself to, this Agreement, to the extent required; (iv) the execution and delivery of this Agreement

does not violate any agreement, court order, administrative order of any governmental entity, or

any law or governmental regulation; and (v) she, he or it has not sold, assigned or otherwise

transferred, and, thus, owns and/or controls, the rights and claims being waived and released by

that Party in Paragraph 5 of this Agreement. Further, the JOLs represent and warrant that the

fullest and greatest extent of their powers as JOLs include, but are not limited to, the power to

release any past, present and future causes of action, suits, debts, sums of money, accounts,

covenants, contracts, controversies, losses, liabilities, responsibilities, damages, penalties,

judgments, extents, executions, claims, cross-claims, counterclaims, proofs of claim, rights of

contribution or indemnification, rights of subrogation, and all other liabilities, claims or demands

of PPVA, Platinum Montaur Life Sciences, LLC, Platinum Montaur Life Sciences I, LLC, PGS,

DMRJ Group, LLC, DMRJ Group I, LLC, DMRJ Group II, LLC, and Montsant Partners LLC.

All representations and warranties set forth in this Agreement shall survive its execution.

        11.     Miscellaneous.

               a.      Notice. All notices and other communications given and made pursuant to

this Agreement shall be in writing and shall be deemed delivered: (a) upon personal delivery to

the Party to be noticed; (b) upon delivery by electronic mail when confirmed by the recipient, if

sent during normal business hours of the recipient, and if not so confirmed or not during normal

business hours of the recipient, then on the next Business Day; or (c) when sent by Federal Express




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or comparable overnight courier, one Business Day after delivering the letter or package to Federal

Express or comparable overnight courier service:

 If to the JOLs, the PPVA JOL Parties and If to the Receiver and the Receivership
 PGS:                                     Entities:

 Martin Trott and Christopher Smith, as Joint      Melanie L. Cyganowski, Esq.
 Official Liquidators                              c/o Otterbourg P.C.
 c/o R&H Restructuring (Cayman) Ltd.               230 Park Avenue
 P.O. Box 897, Windward 1                          New York, New York 10169
 Regatta Office Park                               mcyganowski@otterbourg.com
 KYI -1103
 Grand Cayman, Cayman Islands                      -and-
 mtrott@rhrestructuring.com
 csmith@rhrestructuring.com                        Otterbourg P.C.
                                                   Attn: Erik B. Weinick, Esq.
        -and-                                      230 Park Avenue
                                                   New York, New York 10169-0075
 Holland & Knight LLP                              eweinick@otterbourg.com
 Attn: Warren E. Gluck, Esq., Esq.
 31 West 52nd Street
 New York, New York 10019
 Warren.gluck@hklaw.com


                b.    Venue and Choice of Law.             The Parties consent and submit to the

exclusive jurisdiction of the Receivership Court over any actions or proceedings relating to

the enforcement or interpretation of this Agreement and any Party bringing such action or

proceeding shall bring such action or proceeding in the Receivership Court. This Agreement

and all claims and disputes arising out of or in connection with this Agreement shall be

governed by and construed in accordance with the internal laws of the State of New York,

without regard to choice of law principles. Each of the Parties hereto hereby waives any right

to a trial by jury in any action, proceeding or counterclaim based upon or arising out of this

Agreement or any of the transactions related hereto, and agrees that any such action, proceeding

or counterclaim shall be tried before a court and not before a jury.



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               c.      Entire Agreement.       This Agreement constitutes the entire and only

agreement of the Parties concerning the subject matter hereof. This Agreement supersedes and

replaces any and all prior or contemporaneous verbal or written agreements or understandings

between or among the Parties concerning the subject matter hereof, including, but not limited to,

any term sheets exchanged prior to the execution of this Agreement. The Parties acknowledge that

this Agreement is not being executed in reliance on any verbal or written agreement, promise or

representation not contained herein.

               d.      No Oral Modifications.         This Agreement may be modified or amended

only by a writing signed by a duly authorized representative of each of the Parties hereto. No

waiver of any breach of any term or provision of this Agreement shall be construed as a waiver of

any other or subsequent breach.

               e.      Construction. This Agreement constitutes a fully negotiated agreement

among commercially sophisticated parties and therefore shall not be construed or interpreted for

or against any Party, and any rule or maxim of construction to such effect shall not apply to this

Agreement.

               f.      Headings.       The headings in this Agreement are intended only for

convenience and shall not be construed to be or interpreted as a part, or limitation on the scope, of

any term in this Agreement.

               g.      Binding Effect; Successor and Assigns. This Agreement shall inure to the

benefit of and be binding upon the Parties and their respective successors and permitted assigns;

provided, however, that no Party may assign its rights or obligations under this Agreement without

the written consent of the other Parties, which consent shall not be unreasonably withheld or




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delayed, and any assignment not in accordance with the terms hereof shall be null and void ab

initio.

                h.     Costs. Each Party shall bear her, his or its own costs in connection with the

negotiation and execution of this Agreement and any transactions contemplated hereunder.

                i.     Severability. If any portion or portions of this Agreement or any document

executed in connection herewith are held by a court of competent jurisdiction to conflict with any

federal, state or local law, and as a result such portion or portions are declared to be invalid and of

no force or effect in such jurisdiction, then all remaining provisions of this Agreement or any

document executed herewith shall otherwise remain in full force and effect and be construed as if

such invalid portion or portions has not been included herein.

                j.     Further Assurances. The Parties each agree to execute such further and

additional documents, instruments and writings as may be reasonably necessary, proper, required,

desirable or convenient for the purpose of fully effectuating the terms and provisions of this

Agreement.

                k.     Counterparts. This Agreement may be executed in counterparts, each of

which constitutes an original, and all of which, collectively, constitute only one agreement. The

signatures of all of the Parties need not appear on the same counterpart.

                l.     PDFs as Originals. This Agreement may be executed using facsimile or

PDF signatures, with the same effect as if the signatures were original. Facsimile or electronic

copies of this Agreement shall be deemed for all purposes to have the same force and effect of the

original thereof.

          IN WITNESS WHEREOF, the Parties have executed this Settlement Agreement as of

the date set forth above.



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PRINCIPAL GROWTH STRATEGIES,                    MARTIN TROTT AND CHRISTOPHER
LLC                                             SMITH, SOLELY IN THEIR
                                                CAPACITIES AS THE JOINT OFFICIAL
By: Platinum Partners Value Arbitrage Fund      LIQUIDATORS AND FOREIGN
L.P., Its Managing Member                       REPRESENTATIVES OF PLATINUM
                                                PARTNERS VALUE ARBITRAGE FUND
By:                                             L.P., AND, IN THOSE CAPACITIES,
                                                ALSO AS AGENTS AND AUTHORIZED
MARTIN TROTT AND CHRISTOPHER                    REPRESENTATIVES ON BEHALF OF
SMITH, SOLELY IN THEIR                          EACH OF THE OTHER PPVA JOL
CAPACITIES AS THE JOINT OFFICIAL                PARTIES
LIQUIDATORS AND FOREIGN
REPRESENTATIVES OF PLATINUM                     Dated: _________________,
PARTNERS VALUE ARBITRAGE FUND
L.P.                                            By: DRAFT

Dated: _________________,                       Name: Martin Trott
                                                Title: Joint Official Liquidator of Platinum
By: DRAFT                                       Partners Value Arbitrage Fund L.P.
Name: Martin Trott                              By: DRAFT
Title: Joint Official Liquidator of Platinum
Partners Value Arbitrage Fund L.P.              Name: Christopher Smith
                                                Title: Joint Official Liquidator of Platinum
By: DRAFT                                       Partners Value Arbitrage Fund L.P.
Name: Christopher Smith
Title: Joint Official Liquidator of Platinum
Partners Value Arbitrage Fund L.P.

MELANIE L. CYGANOWSKI, SOLELY
IN HER CAPACITY AS RECEIVER FOR
THE RECEIVERSHIP ENTITIES AND
THE RECEIVERSHIP ESTATE AND, IN
THAT CAPACITY, ALSO AS AGENT
AND AUTHORIZED
REPRESENTATIVE ON BEHALF OF
EACH OF THE OTHER
RECEIVERSHIP PARTIES

Dated: _________________,

By: DRAFT

Name: Melanie L. Cyganowski
Title: Receiver of the Receivership Entities



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                                        Addendum A

                                           Parties
“Receivership Parties” shall mean:

Platinum Credit Management, L.P.
Platinum Partners Credit Opportunities Fund (BL) LLC
Platinum Partners Credit Opportunities Fund LLC
Platinum Partners Credit Opportunities Fund (TE) LLC
Platinum Partners Credit Opportunities Fund International Ltd.
Platinum Partners Credit Opportunities Fund International (A) Ltd.
Platinum Partners Credit Opportunities Master Fund LP
ALS Capital Ventures LLC
ALS Life Holdings LLC
Atlantic Growth Capital LLC (to the extent of Platinum Partners Credit Opportunities Master
Fund, L.P.’s interest)
Alpha Credit Resources LLC
Bakken Development Opportunities I LLC
Beta Credit Services LLC
Burr Capital LLC
Cedarbridge Healthcare Management LLC (to the extent of Platinum Partners Credit
Opportunities Master Fund, L.P.’s interest)
Centurion Structured Growth LLC
Credit Funding LLC
Credit International LLC
Credit Mining LLC
Credit Strategies LLC
Diamed Holdings, LLC
Energy Capital Corp.
Financial Ventures LLC
Hamilton Capital LLC
Hamilton Capital II LLC
Hamilton Capital III LLC
Hamilton Capital IV LLC
Hamilton Capital V LLC
Hamilton Capital VI LLC
Hamilton Capital VII LLC
Hamilton Capital VIII LLC
Hamilton Capital IX LLC
Hamilton Capital X LLC
Hamilton Capital XI LLC
Hamilton Capital XII LLC
Hamilton Capital XIII LLC
Hamilton Capital XIV LLC
Hamilton Capital XV LLC
Hamilton Capital XVI LLC
Hamilton Capital XVII LLC
Hamilton Capital XVIII LLC
IP Capital LLC
JARM Capital LLC
JH Funding LLC
Lakewood Group LLC
LC Energy LLC
LC Energy Operations LLC
L2 Leasing Holdings, LLC
Maximillian Investors LLC
Maximillian Resources LLC
Northrock Financial LLC
Pea & Eigh Company LLC
Photon Management LLC
Platinum Long Term Growth VIII, LLC
Platinum Partners Credit International LLC
Platinum Partners Credit International LP
Principal Growth Strategies, LLC (to the extent of Platinum Partners Credit Opportunities
Master Fund, L.P.’s interest)
Pro Master Group LLC
Pro Player Funding LLC
PTLG VIII Iron Ore LLC
RE Credit LLC
Regis Capital LLC
RJ Funding LLC
Secure Holdings LLC
Titan Trade Finance LLC
Voltage Energy Holdings Co LLC
West Ventures LLC
Wintercrest Advisors LLC (to the extent of Platinum Partners Credit Opportunities Master Fund,
L.P.’s interest)
All other direct and indirect subsidiaries of Platinum Partners Credit Opportunities Master Fund
LP
Platinum Liquid Opportunity Management (NY) LLC
Platinum Partners Liquid Opportunity Fund (USA) L.P.
Platinum Partners Liquid Opportunity Master Fund L.P.
D Ward Capital, LLC
Empire Binary LLC
Empire Quantitative Ltd
Jacob Trading LLC




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“PPVA JOL Parties” shall include:

Platinum Partners Value Arbitrage Fund L.P.
Platinum Partners Value Arbitrage Fund L.P. (in Official Liquidation)
Alston Grove Holdings LLC
Ancash Mining Ltd
AP Finance LLC
Atlantic Growth Capital LLC (to the extent of Platinum Partners Value Arbitrage Fund L.P.’s
interest)
BA Note Acquisition LLC
Bouvier Street Capital Group LLC
Carnegie Hall Group LLC
Cayler Trading Group LLC
Cazador Holdings LLC
CBCT Partners LLC
CIS Energy LLC
Cobblestone Holdings LLC
DD China Cablecom LLC
DMRJ Group, LLC
DMRJ Group I, LLC
DMRJ Group II, LLC
Flashpoint Energy LLC
Flashpoint Trading LLC
Flashpoint Trading II LLC
Golden Globe Energy US LLC
Greenpoint Trading Group LLC
Hasbro Management LLC
Hazan Energy LLC
Huron Capital LLC
Kent Group LLC
Lafitte Energy LLC
Maximilian Investors Trading LLC
MBM Asia LLC
Meserole Group LLC
Montsant Partners LLC
M&P Holdings Ltd
Newco High Performance LLC
Newel Trading Group LLC
Northstar GOM Holdings Group LLC
Olympic Lake Partners Limited
Platinum Long Term Growth LLC
Platinum Long Term Growth I, LLC
Platinum Long Term Growth II, LLC
Platinum Long Term Growth III, LLC
Platinum Long Term Growth IV, LLC
Platinum Long Term Growth V, LLC
Platinum Long Term Growth VI, LLC
Platinum Long Term Growth VII, LLC
Platinum Management Offshore LLC
Platinum Long Term Growth VIII, LLC
Platinum Management (NY) LLC
Platinum Montaur Life Sciences, LLC
Platinum Montaur Life Sciences I, LLC
PPVA Black Elk (Cayman) Ltd
PPVA Black Elk (Equity) LLC
PPVA Black Elk (Investor) LLC
PPVA Infracom (Investor) Ltd
Precious Capital LLC
Principal Growth Strategies LLC (to the extent of Platinum Partners Value Arbitrage Fund,
L.P.’s interest)
Resource Value Group LLC
RJ Credit LLC
RJ Resources LLC
Solar Project LLC
Spring Road Advisors LLC
Sutton Place Group Ltd
Temasek Capital LLC
Titanium Capital Partners LLC
Titanium Healthcare Management LLC
TKN Equity LLC
Trenor Partners LLC
Valentine Securities Group LLC
Value Healthcare Management LLC
Viper High Performance LLC
Voltage Energy Holdings VA LLC
Western Basin Capital LLC
Westminster Capital Holdings LLC
Wintercrest Advisors LLC (to the extent of Platinum Partners Value Arbitrage Fund, L.P.’s
interest)




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                                Addendum B

               Term                                  Definition
A&R Delayed Draw Demand    “Amended and Restated Delayed Draw Demand Note” (as
Note                       thereafter amended, restated, modified and/or supplemented
                           from time to time), dated January 20, 2016, which amended
                           and restated the Delayed Draw Demand Note in favor of SHIP
A&R MSA                    Amended and Restated Master Security Agreement, dated
                           March 21, 2016, entered into between PPMF and BAM Admin,
                           as Agent
BAM Admin                  BAM Administrative Services, LLC
Business Day               Any day that is (a) a Monday, Tuesday, Wednesday, Thursday
                           or Friday on which banks in the State of New York are open
                           for the transaction of a substantial part of their commercial
                           banking business and (b) not a legal holiday in the State of New
                           York.
Delayed Draw Demand Note   “Delayed Draw Demand Note,” dated December 23, 2015 (as
                           thereafter amended, restated, modified and/or supplemented
                           from time to time), issued in favor of SHIP, in the principal
                           amount of up to $15,500,000.00
Fuzion                     Fuzion Analytics, Inc.
March 2016 Subsidiary      Subsidiary Guaranty dated March 21, 2016, executed by the
Guaranty                   PPMF MSA Subsidiaries, Platinum Partners Credit
                           International LP and BAM Admin, as Agent
MSA                        “Master Security Agreement,” dated December 23, 2015,
                           executed by the PPMF MSA Subsidiaries and BAM Admin, as
                           Agent
NPA                        “Note Purchase Agreement,” dated as of March 21, 2016,
                           executed by PPMF, as the “Company,” BAM Admin, as Agent
                           for all “Purchasers from time to time a party [t]hereto,” and
                           SHIP, BRe BCLIC Primary, BRe BCLIC Sub, BRe WNIC
                           2013 LTC Primary and BRe WNIC 2013 LTC Sub (as
                           amended, amended and restated, supplemented or otherwise
                           modified from time to time in accordance with its provisions)
PGS Operating Agreement   the Agreement Operating Agreement of Principal Growth
                          Strategies LLC dated as of December 4, 2014, together with
                          any amendment, modification or restatement thereof




PPMF MSA Subsidiaries     ALS Capital Ventures LLC, Atlantic Growth Capital LLC,
                          Alpha Credit Resources, LLC, Bakken Development
                          Opportunities I LLC, Beta Credit Services LLC, Burr Capital
                          LLC, Centurion Structured Growth LLC, Credit Funding LLC,
                          Credit Mining LLC, Credit International LLC, Credit
                          Strategies LLC, Diamed Holdings LLC, Financial Ventures
                          LLC, Hamilton Capital LLC, JH Funding LLC, Lakewood
                          Group LLC, L2 Leasing Holdings LLC, Maximilian Investors,
                          LLC, Maximilian Resources LLC, Northrock Financial LLC,
                          Pea and Eigh Company LLC, Photon Management LLC,
                          Platinum Long Term Growth VIII LLC, Platinum Partners
                          Credit International, LLC, Principal Growth Strategies LLC,
                          Pro Master Group LLC, Pro Player Funding LLC, PTLG VIII
                          Iron Ore LLC, Re Credit LLC, Regis Capital LLC, RJ Funding
                          LLC, Secure Holdings LLC, Voltage Energy Holdings LLC,
                          West Ventures LLC and Wintercrest Advisors LLC




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PPMF Notes                    Collectively:
                              (i) the Second Amended and Restated Secured Term Note,
                                    dated March 21, 2016, in favor of SHIP in the original
                                    amount of $42,963,949.04, which was amended and
                                    restated and was given in substitution for but not in
                                    satisfaction of the A&R Delayed Draw Demand Note
                                    (“PPMF Note 1”);
                              (ii) the Secured Term Note dated March 21, 2016, in favor of
                                    BRe BCLIC Primary, in the original principal amount of
                                    $10,000,000 (“PPMF Note 2”);
                              (iii) the Secured Term Note dated March 21, 2016, in favor of
                                    BRe BCLIC Sub, in the original principal amount of
                                    $500,000 (“PPMF Note 3”);
                              (iv) the Secured Term Note dated March 21, 2016, in favor of
                                    BRe WNIC 2013 LTC Primary, in the original principal
                                    amount of $14,989,677.78 (“PPMF Note 4”); and
                              (v) the Secured Term Note dated March 21, 2016, in favor of
                                    BRe WNIC 2013 LTC Sub, in the original principal
                                    amount of $700,000 (“PPMF Note 5”)
Ratification Agreement        “Reaffirmation and Ratification Agreement,” dated January
                              20, 2016, entered into between PPMF, the PPMF MSA
                              Subsidiaries and BAM Admin, as Agent
SHIP/Fuzion Proofs of Claim   Collectively, the following proofs of claim filed by SHIP and
                              Fuzion:
                              1. Proofs of Claim Submitted by SHIP
                                 a. “Creditor Proof of Claim Form” submitted by SHIP on
                                    March 29, 2019 against Platinum Partners Credit
                                    Opportunities Master Fund LP, which was assigned
                                    claim number PTM 256;
                                 b. “Creditor Proof of Claim Form” submitted by SHIP on
                                    March 29, 2019 against Platinum Partners Credit
                                    Opportunities Fund LLC, which was assigned claim
                                    number PTM 255;
                                 c. “Creditor Proof of Claim Form” submitted by SHIP on
                                    March 29, 2019 against Platinum Liquid Opportunity
                                    Management (NY) LLC, which was assigned claim
                                    number PTM 248;
                                 d. “Creditor Proof of Claim Form” submitted by SHIP on
                                    March 29, 2019 against Platinum Partners Liquid
                                    Opportunity Master Fund L.P., which was assigned
                                    claim number PTM 258;
                                 e. “Creditor Proof of Claim Form submitted by SHIP on
                                    March 29, 2019 against Platinum Partners Credit
                                    Opportunities Fund International (A) Ltd., which was
                                    assigned claim number PTM 253;


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   f. “Creditor Proof of Claim Form” submitted by SHIP on
      March 29, 2019 against Platinum Partners Credit
      Opportunities Fund (TE) LLC, which was assigned
      claim number PTM 249;
   g. “Creditor Proof of Claim Form” submitted by SHIP on
      March 29, 2019 against Platinum Partners Credit
      Opportunity Fund (BL) LLC, which was assigned claim
      number PTM 326;
   h. “Creditor Proof of Claim Form” submitted by SHIP on
      March 29, 2019 against Platinum Partners Liquid
      Opportunity Fund (USA) L.P., which was assigned
      claim number PTM 257;
   i. “Creditor Proof of Claim Form” submitted by SHIP on
      March 29, 2019 against Platinum Partners Credit
      Opportunities Fund International Ltd., which was
      assigned claim number PTM 254; and
   j. “Creditor Proof of Claim Form” submitted by SHIP on
      March 29, 2019 against Platinum Credit Management,
      L.P, which was assigned claim number PTM 247.
2. Proofs of Claim Submitted by Fuzion
   a. “Creditor Proof of Claim Form” submitted by Fuzion on
      March 29, 2019 against Platinum Partners Credit
      Opportunities Master Fund LP, which was assigned
      claim number PTM 243;
   b. “Creditor Proof of Claim Form” submitted by Fuzion on
      March 29, 2019 against Platinum Partners Credit
      Opportunities Fund LLC, which was assigned claim
      number PTM 242;
   c. “Creditor Proof of Claim Form” submitted by Fuzion on
      March 29, 2019 against Platinum Liquid Opportunity
      Management (NY) LLC, which was assigned claim
      number PTM 238;
   d. “Creditor Proof of Claim Form” submitted by Fuzion on
      March 29, 2019 against Platinum Partners Liquid
      Opportunity Master Fund L.P., which was assigned
      claim number PTM 246;
   e. “Creditor Proof of Claim Form” submitted by Fuzion on
      March 29, 2019 against Platinum Partners Credit
      Opportunities Fund International (A) Ltd., which was
      assigned claim number PTM 240;
   f. “Creditor Proof of Claim Form” submitted by Fuzion on
      March 29, 2019 against Platinum Partners Credit
      Opportunities Fund (TE) LLC, which was assigned
      claim number PTM 239;
   g. “Creditor Proof of Claim Form” submitted by Fuzion on
      March 29, 2019 against Platinum Partners Credit

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                             Opportunity Fund (BL) LLC, which was assigned claim
                             number PTM 244;
                         h. “Creditor Proof of Claim Form” submitted by Fuzion on
                             March 29, 2019 against Platinum Partners Liquid
                             Opportunity Fund (USA) L.P., which was assigned
                             claim number PTM 245;
                         i. “Creditor Proof of Claim Form” submitted by Fuzion on
                             March 29, 2019 against Platinum Partners Credit
                             Opportunities Fund International Ltd., which was
                             assigned claim number PTM 241; and
                         j. “Creditor Proof of Claim Form” submitted by Fuzion on
                             March 29, 2019 against Platinum Credit Management,
                             L.P, which was assigned claim number PTM 237.
Subsidiary Guaranty   “Subsidiary Guaranty” dated December 23, 2015, executed by
                      the PPMF MSA Subsidiaries and BAM Admin
UCC-1s                UCC Financing Statements filed by BAM Admin, as Agent,
                      prior to the commencement of the Receivership Action, with
                      the Delaware Secretary of State, or otherwise, asserting a
                      security interest in all, or substantially all, assets of PPMF and
                      all or certain PPMF MSA Subsidiaries




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                                         Addendum C
                                        Proofs of Claim

“Proofs of Claim” shall mean, but not be limited to, the following:

   1. “Creditor Proof of Claim Form” PTM 39 dated March 19, 2019 filed by Martin Trott as
      Joint Official Liquidator of Platinum Partners Value Arbitrage Fund, L.P. in the case
      captioned SEC v. Platinum Management (NY) LLC et al., Case No. 16-cv-6848 (BMC) in
      the United States District Court for the Eastern District of New York.

   2. “Creditor Proof of Claim Form” PTM 40 dated March 19, 2019 filed by Martin Trott as
      Joint Official Liquidator of Platinum Partners Value Arbitrage Fund, L.P. in the case
      captioned SEC v. Platinum Management (NY) LLC et al., Case No. 16-cv-6848 (BMC) in
      the United States District Court for the Eastern District of New York.

   3. “Proof of Debt” filed on form CWR 24 on or about September 23, 2016 by Platinum
      Partners Credit Opportunity Master Fund LP in the Platinum Partners Value Arbitrage
      Fund LP – Provisional Liquidation, Grand Court Cause No. 131 of 2016, in the amount
      of $4,315,913.51

   4. “Proof of Debt” filed on form CWR 24 on or about September 23, 2016 by Platinum
      Partners Liquid Opportunity Master Fund LP in the Platinum Partners Value Arbitrage
      Fund LP – Provisional Liquidation, Grand Court Cause No. 131 of 2016, in the amount
      of $1,855,293.04

   5. “Creditor Proof of Claim Form” submitted by BAM Admin, as agent against PPMF on
       March 28, 2019 in connection with the case captioned SEC v. Platinum Management
       (NY) LLC, et al., Case No. 16-cv-6848 (BMC) in the United States District Court for the
       Eastern District of New York, which was assigned claim number PTM 145 (“BAM
       Admin Proof of Claim”)




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     Exhibit A

PPMF Debt Registry

   [See attached.]
Platinum Partners Credit Opportunities Master Fund LP                                                                                              9/30/2019

                                                                                                                               Lender of Record Principal       Lender of Record         Lender of Record                                                                      Lender of Record Actual      Lender of Record Actual       Lender of Record Actual
                  Lender of Record                                                                                             Debt Amount                      Accrued Interest         Debt Percentage                              Participant                              Economic Principal Debt      Economic Accrued Income       Debt Percentage
                  (inclusive of participations)                                  Participant                                   (inclusive of participations)    Amount (inclusive of     (inclusive of           Participant Debt     Accrued Income      Participant Debt     Amount (exclusive of         Amount (exclusive of          (exclusive of
Note Identifier   (actual name)                               Account Ref        (actual name)        Account Reference        ($)                              participations) ($)*     participations) (%)     Amount ($)           Amount ($)*         Percentage (%)       participations) ($)          participations) ($)***        participations) (%)      Notes
                  Senior Health Insurance Company                                                                                                                                                                                                                                                                                                                  *** Interest (G) +
                  of Pennsylvania                             SHIP BAM                                                                         15,804,397.58             3,864,646.71                  19.81%                                                                               5,026,159.27                  1,265,518.99                        6.30% Accrued Interest (Q)
                                                                                 Beechwood
PPMF Note 1                                                                      Bermuda
                                                                                 International Ltd.   Custody Account                                                                                                  2,599,215.12         677,978.95                 3.26%                                                                                                           21.425%
                                                                                 PBLA ULICO 2017                                                                                                                       8,179,023.19       1,921,148.77                10.25%                                                                                                           96.017%
                                                                                                                                                                                                                                                                                                                                                                      * Accrued Interest (J)
PPMF Note 2       Bankers Conseco Life Insurance Co.                                                  Bre BCLIC Primary                                                                                                                                                                                                                                                + Accured Interest (Q)
                                                                                                                                                5,788,297.58             1,457,415.11                    7.25%                                                                               5,788,297.58                 1,457,415.11                        7.25%
                                                                                                                                                                                                                                                                                                                                                                      * Accrued Interest (J)
PPMF Note 3       Bankers Conseco Life Insurance Co.                                                                                                                                                                                                                                                                                                                   + Accured Interest (Q)
                                                                                                      Bre BCLIC Sub                               291,120.37                73,300.16                    0.36%                                                                                291,120.37                     73,300.16                        0.36%
                                                                                                                                                                                                                                                                                                                                                                      * Accrued Interest (J)
PPMF Note 4       Washington National Insurance Co.                                                                                                                                                                                                                                                                                                                    + Accured Interest (Q)
                                                                                                      Bre WNIC LTC Primary                      1,234,860.02               310,921.09                    1.55%                                                                               1,234,860.02                   310,921.09                        1.55%
                                                                                                                                                                                                                                                                                                                                                                      * Accrued Interest (J)
PPMF Note 5
                  Washington National Insurance Co.                                                   Bre WNIC LTC Sub                            407,568.48               102,620.25                    0.51%                                                                                407,568.48                    102,620.25                        0.51%    + Accured Interest (Q)
                  Senior Health Insurance Company                                                                                                                                                                                                                                                                                                                     * Accrued Interest (J)
PPMF Note 1       of Pennsylvania                                                                                                                                                                                                                                                                                                                                      + Accured Interest (Q)
                                                              Bre SHIP                                                                         10,868,454.74             2,736,530.04                  13.62%                                                                              10,868,454.74                  2,736,530.04                       13.62%
PPMF Note 3;      Senior Health Insurance Company                                                                                                                                                                                                                                                                                                                     * Accrued Interest (J)
PPMF Note 5       of Pennsylvania                             BBIL SHIP                                                                           682,189.85               171,766.18                    0.85%                                                                                 682,189.85                   171,766.18                        0.85%    + Accured Interest (Q)
PPMF Note 2       Beechwood Bermuda International Ltd.        Custody Account                                                                   5,396,293.00             1,407,568.40                    6.76%                                                                               5,396,293.00                 1,407,568.40                        6.76%                    44.480%
PPMF Note 2       PBLA ULICO 2017                                                                                                                 270,549.18                63,548.57                    0.34%                                                                                 270,549.18                    63,548.57                        0.34%                     3.176%
                  Beechwood Bermuda International Ltd.        Custody Account                                                                   1,370,509.63               357,483.56                    1.72%                                                                               1,370,509.63                   357,483.56                        1.72%                    11.297%
                  PBLA ULICO 2017                                                                                                                  68,712.03                16,139.58                    0.09%                                                                                  68,712.03                    16,139.58                        0.09%                     0.807%
PPMF Note 4       BBIL ULICO 2014                                                                                                               1,530,543.58               397,883.98                    1.92%                                                                               1,530,543.58                   397,883.98                        1.92%

                  Beechwood Bermuda International Ltd.        Custody Account                                                                   2,765,896.78               721,456.17                    3.47%                                                                               2,765,896.78                   721,456.17                        3.47%                  22.799%
                  OMNIA Ltd                                                                                                                      2,660,350.89              777,163.67                    3.33%                                                                               2,660,350.89                   777,163.67                        3.33%
PPMF Note 1;                                                                                                                                                                                                                                                                                                                                                               Per $26,779,775.07
PPMF Note 4       Principal Growth Strategies LLC *                                                                                            30,650,512.27             5,951,657.98                  38.41%                                                                              30,650,512.27                  5,951,657.98                       38.41%      Transferred 6/8/2016
Total                                                                                                                                           79,790,255.97           18,410,101.46                 100.00%         10,778,238.31        2,599,127.72               13.51%                69,012,017.66                 15,810,973.74                      86.49%

                                                                                                      BBIL Custody                              12,131,914.52             3,164,487.08
                                                                                                      PBLA ULICO 2017                            8,518,284.40             2,000,836.92


PPMF Note 1 - Secured Term Note, dated March 21, 2016, with a face amount of $42,963,949.04, originally issued to SHIP
PPMF Note 2 - Secured Term Note, dated March 21, 2016, with a face amount of $10,000,000, originally issued to Bre BCLIC Primary
PPMF Note 3 - Secured Term Note, dated March 21, 2016, with a face amount of $500,000, originally issued to Bre BCLIC Sub
PPMF Note 4 - Secured Term Note, dated March 21, 2016, with a face amount of $14,989,677.78, originally issued to Bre WNIC 2013 LTC Primary
PPMF Note 5 - Secured Term Note, dated March 21, 2016, with a face amount of $700,000, originally issued to Bre WNIC 2013 LTC Sub

* Status of PPCO indebtedness attributed to Principal Growth Strategies LLC (PGS) above is uncertain based upon verbal representions by both initial Receiver of PPCO and counsel for PPVA liquidators that those PPCO debt amounts transferred to PGS are deemed extinguished.
